Case 8:23-cv-02996-VMC-AEP Document 43 Filed 09/25/24 Page 1 of 3 PagelD 297

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
CASE NO.: 8:23-cv-02996-VMC-AEP
JESSE LEE,
Plaintiff,
Vv.

CITY OF GULFPORT,

Defendant.
/

DEFENDANT’S MOTION FOR LEAVE TO FILE
REPLY IN SUPPORT OF MOTION TO DISMISS

COMES NOW Defendant, CITY OF GULFPORT (‘the City”), and hereby moves
this Court, pursuant to Local Rule 3.01(d), for leave to file a Reply in support of its
Amended Motion to Dismiss, and states:

The City requests leave to file a short Reply in support of its Amended Motion to
Dismiss in this matter. Plaintiff's response to the City’s Amended Motion to Dismiss
raises issues for which supplemental authority and argument would be helpful. This case
involves complex issues of constitutional law and brief supplemental argument, and
authority will assist this Court in properly deciding the issues involved in the City’s
Motion to Dismiss the Amended Complaint. Additionally, Plaintiff's response raised the
issue of whether a criminal proceedings transcript was provided that would show that he
did in fact previously litigate the issues involved in this dispute. The City is in the process

of obtaining the hearing transcript from the criminal case proceedings in that case, to
Case 8:23-cv-02996-VMC-AEP Document 43 Filed 09/25/24 Page 2 of 3 PagelD 298

show that Plaintiff did in fact previously litigate issues that he is now attempting to
relitigate in this matter. The City’s ability to demonstrate that collateral estoppel should
apply to those claims will disabuse the Court of any notion that an equal protection issue
is involved in this case and allow it to dismiss any other claims to which collateral
estoppel would apply. Ultimately, the issues involved in that prior litigation are at the
very heart of the issues involved in this case, and it will be in the interests of judicial
economy to have the hearing transcript available to show what was already litigated by
Plaintiff and provide argument and citations to briefly demonstrated this.

The City’s Reply brief will provide supplemental authority and argumentation that
helps to harmonize the arguments and issues which will be raised in Defendant, JAMES
O’REILLY’s motion to dismiss Plaintff's Amended Complaint, such that this Court may
decide the issues involved in the Motions to Dismiss in a consistent fashion. The City
anticipates that its Reply in Support of its Amended Motion to Dismiss will be no longer
than five (5) pages in length.

CERTIFICATE OF 3.01(g) CONFERRAL

The Defendant reached out to Plaintiff's counsel, and she was unavailable to
discuss this Motion for Leave, due to hurricane preparations. The Defendant will
continue to reach out to her in the following three business days to seek clarification as to

whether this Motion is agreed to, or opposed, pursuant to Rule 3.01(g)(3).
Case 8:23-cv-02996-VMC-AEP Document 43 Filed 09/25/24 Page 3 of 3 PagelD 299

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 25th day of September, 2024, I electronically
submitted the foregoing with the Clerk of Court using the CM/ECF system, who will
send electronic notice to all parties and pro se litigants.

‘ue Ke

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